Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                        Main Document    Page 1 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                        Main Document    Page 2 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                        Main Document    Page 3 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                        Main Document    Page 4 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                        Main Document    Page 5 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                        Main Document    Page 6 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                        Main Document    Page 7 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                        Main Document    Page 8 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                        Main Document    Page 9 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 10 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 11 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 12 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 13 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 14 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 15 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 16 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 17 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 18 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 19 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 20 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 21 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 22 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 23 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 24 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 25 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 26 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 27 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 28 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 29 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 30 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 31 of 32
Case 18-80892-CRJ11   Doc 149 Filed 01/15/19 Entered 01/15/19 14:26:13   Desc
                       Main Document    Page 32 of 32
